               Case 3:15-cr-02721-DMS                     Document 245            Filed 11/17/16             PageID.799             Page 1 of 9
     <IIl:.AO 2458 (CASD) (Rev. 12/11) Judgment in a Criminal Case
                   Sheet I                                                                                                        FILED
           •
                                                                                                                                    NOV 17 2016
                                                UNITED STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF CALIFORNIA                                        CLI,HK us DISTRICI COLJH r
                                                                                                                      ll~UTH"HN DISTRICT ~ :t)-lf'ORNIA
                                                                                                                        t, • T ,., . . . . ." .1  UU'UTY
                        UNITED STATES OF AMERICA                                  JUDGMENT IN A eRr
                                          v.                                       (For Offenses Committed On or After November 1, 1987)

                             ARTHUR LEE BAUTISTA (1)                               Case Number: 15CR2721-BEN
                                                                                   ROBERT E. BOYCE
                                                                                   Defendant's Attorney
     REGISTRATION NO. 51400298

    o
    THE DEFENDANT:
     181pleaded guilty to count(s) Is OF THE SUPERSEDING INFORMATION.
     o         was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               after a plea of not gUilty.
               Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
     Title & Section                           Nature of Offense                                                                          Number(s)
21 USC 846, 841(a)(I)                   CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                                Is




        The defendant is sentenced as provided in pages 2 through _ _Z9_ _ o fthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 181 Count(s) UNDERLYING INDICTMENT                                                 is   181 areD dismissed on the motion of the United States.
 181 Assessment: $100.00 forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per quarter
      during the period of incarceration.



  181 Fine waived                                     181 Forfeiture pursuant to order filed       SEPTEMBER 7,2016           , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid If ordered to pay restitution. the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE
                                                                                                                                              15CR272 I-BEN
       Case 3:15-cr-02721-DMS                     Document 245               Filed 11/17/16         PageID.800        Page 2 of 9
AO 2458 (CASD) (Rev. 12/11) Judgment in a Criminal Case
            , Sheet 2   Imprisonment

                                                                                                     Judgment- Page   2     of      9
 DEFENDANT: ARTHUR LEE BAUTISTA (I)
 CASE NUMBER: lSCR2721-BEN
                                                               IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          ONE HUNDRED AND THIRTY-SEVEN (137) MONTHS CONCURRENT TO THE SENTENCE IMPOSED IN CASE
          lSCR2720-BEN.


      o   Sentence imposed pursuant to Title 8 USC Section I 326(b).
      181 The court makes the following recommendations to the Bureau of Prisons:
          DEFENDANT BE ALLOWED TO P ARTICIPATE IN THE SOO-HOUR DRUG TREATMENT PROGRAM.




      o   The defendant is remanded to the custody of the United States Marshal.

      o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                    Oa.m.          Dp.m.      on _ _ _ _ _ _ _ _ _ __

                 as notified by the United States Marshal.

      oo  The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               befure _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       o         as notified by the United States Marshal.
       o         as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                        to _ _ _ _ _ _ _ _ _ _ _ _ __

 at                                                       with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL


                                                                           By _ _ _ _~~~==~~~~~-----
                                                                                               DEPUTY UNITED STATES MARSHAL




                                                                                                                            lSCR2721-BEN
         Case 3:15-cr-02721-DMS                     Document 245              Filed 11/17/16              PageID.801           Page 3 of 9
AO 245B (CASD) (Rev. 12Jl1)Judgment in a Criminal Case
           'Sheet 3 - Supervised Release
                                                                                                              Judgment Page - - l - of _---'9'-__
DEPENDANT: ARTHURLEEBAUTISTA(J)                                                                       a
CASE NUMBER: 15CR2721-BEN
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from.
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or ajlerSeptember /3,1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa ?on.trolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two perIodic drug !ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month dunng
the term of supervision, unless otherwise ordered by court.                                          --

D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check. if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of 2000, pursuantto 18 USC sections 3563(a)(7) and 3583(d).                                                          .
       The defundant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as dlfected
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifYing offense. (Check if applicable.)
D      The defendant shalI participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminhal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm t e
         defendant's compliance with such notification requirement.
                                                                                                                                         15CR2721-BEN
            Case 3:15-cr-02721-DMS                      Document 245       Filed 11/17/16          PageID.802           Page 4 of 9
        AO 245B (CASO) (Rev. 12/11 Judgment in a Criminal Case
                 , Sheet 4 - Special Conditions
                                                                                                       Judgment Page   - i - of        9
        DEFENDANT: ARTHUR LEE BAUTISTA (1)                                                         a
        CASE NUMBER: 15CR2721-BEN




                                              SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a .
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to subnnt to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.                                                                                                                              a
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous dmgs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrisVphysician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. Is required to contribute to the costs of services rendered in an amount
    to be determined bv the probation officer. based on the defendant's ability to pay.                                                           a.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.                                                                                                                             II
D Provide complete disclosure of personal and business fmancial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate in a program of dmg or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. Is required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

D




                                                                                                                                     15CR2721-BEN
     Case 3:15-cr-02721-DMS    Document 245     Filed 11/17/16   PageID.803    Page 5 of 9
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        8                        UNITED STATES DISTRICT COURT
        9                      SOUTHERN DISTRICT OF CALIFORNIA
       10   UNITED STATES OF AMERICA,                     Case No. 15cr2720-BEN
                                                                   I5cr2721-BEN
       11                      Plaintiff,
                                                          PRELIMINARY ORDER OF
       12                v.                               CRIMINAL FORFEITURE
       13   ARTHUR LEE BAUTISTA (1),
             .  aka Bone,
       14
                               Defendant.
       15
       16         WHEREAS, in the Indictment in Criminal Case No. I5cr2720-BEN and the
       17 Superseding Information in Criminal Case No. 15cr272I-BEN, the United States
       18 sought forfeiture of all right, title and interest in specific properties of the above-
       19 named Defendant, ARTHUR LEE BAUTISTA ("Defendant"), pursuant to 18 U.S.C.
       20 § 924(d)(I) and 28 U.S.C. § 246I(c) as properties involved in the commission of
       21   18 U.S.C. §§ 922(g)(l) and 924(a)(2) as charged in the Indictment, and pursuant to
       22 21 U.S.C. § 853 as properties involved in the commission of 21 U.S:C. §§ 841(a)(I)
       23 and 846 as charged in the Superseding Information; and
       24         WHEREAS, on or about March 22, 2016, Defendant pled guilty before
       25 Magistrate Judge Karen S. Crawford to the Indictment and Superseding Information,
       26 which consolidated plea included consent to the forfeiture allegations of the
       27 Indictment and Superseding Information, including but not limited to, forfeiture of
       28 the following:
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   1         (a)    Heckler & Koch, model USP 9mm Luger caliber pistol,
   2
                    bearing serial number 24-2483 ; o
             (b)   Smith & Wesson, model M&P 40, .40 S&W caliber pistol,
   3               bearing serial number DTF8148;        .
   4         (c)    Smith &Wesson, model 910, 9mm Luger caliber pistol,
                    bearing serial number BDX6629;
   5
             (d)    Sig-Sauer, model P220, .45 ACP caliber pistol, bearing
   6                serial number 37B001195;    .
   7         (e)    Smith & Wesson, model 19, .357 Magnum caliber revolver,
                    bearing serial number AAS 560;
   8
             (t)    Winchester, model 94, .30-30 Winchester caliber rifle,
   9                bearing serial number 1511149;
  10         (g)    Spike's Tactical, model ST-15, .223 Remington caliber rifle,
                    bearing serial number 82044;
  11
             (h)    German Sports Guns, model GSG-522, .22 LR caliber rifle,
  12                bearing serial number A566580;
  13         (i)    Remington, model 513T, .22 LR caliber rifle, bearing serial
                    number 91697;
  14
             (j)    Remington, model 1100, 12 gauge shotgun, bearing serial
  IS                number L871449V; and
  16         (k)    ULR AR-15 type Rifle CAL: Unknown, SN: None.
  17         WHEREAS, on August 15, 2016 this Court accepted the guilty plea of
  18 Defendant; and
  19         WHEREAS, by virtue of the facts set forth in the consolidated plea agreement
 20 and forfeiture addendum, the United States has established the requisite nexus
 21    between the forfeited properties and the offense; and
 22          WHEREAS, by virtue of said guilty plea, the United States is now entitled to
 23 possession of the above-referenced properties, pursuant to 18 U.S.C. § 924(d)(I),
 24 21 U.S.C. § 853, 28 U.S.C. § 2461(c), and Rule 32.2(b) of the Federal Rules of
 25 Criminal Procedure; and
 26          WHEREAS, pursuant to Rule 32.2(b), the United States having requested the
 27 authority to take custody of the above-referenced properties which were found
 28 forfeitable by the Court; and

                                             2                         15cr2720/l5cr2721
Case 3:15-cr-02721-DMS    Document 245      Filed 11/17/16   PageID.805    Page 7 of 9



   1 1/
   2         WHEREAS, the United States, having submitted the Order herein to the
   3 Defendant through his attorney of record, to review, and no objections having
   4 been received;
   5         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
   6         1.    Based upon the guilty plea of the Defendant, the United States is hereby
   7 authorized to take custody and control of the following assets, and all right, title and
   8 interest of Defendant ARTHUR LEE BAUTISTA in the following properties are
   9 hereby forfeited to the United States for disposition in accordance with the law,
  10 subject to the provisions of21 U.S.C. § 853(n):
  11         (a)   Heckler & Koch, model USP.I.. 9mm Luger caliber pistol,
                   bearing serial number 24-2483u;
  12
             (b)   Smith & Wesson, model M&P 40, .40 S&W caliber pistol,
  13               bearing serial number DTF8148;
  14         (c)   Smith &Wesson, model 910, 9mm Luger caliber pistol,
                   bearing serial number BDX6629;
  15
             (d)   Sig-Sauer, model P220, .45 ACP caliber pistol, bearing
  16               serial number 37B001195;            .
  17         (e)   Smith & Wesson, model 191..357 Magnum caliber revolver,
                   bearing serial number AAS7560;
  18
             (t)   Winchester1 model 94, .30-30 Winchester caliber rifle,
  19               bearing serial number 1511149;
  20         (g)   Spike's Tactical, model ST-15, .223 Remington caliber rifle,
                   bearing serial number 82044;
  21
             (h)   German Sports Guns, model GSG-522, .22 LR caliber rifle,
  22               bearing serial number A566580;
  23         (i)   Remington, model 513T, .22 LR caliber rifle, bearing serial
                   number 91697;
  24
             (j)   Remington, model 1100, 12 gauge shotgun, bearing serial
  25               number L871449V; and
  26         (k)   ULRAR-15 type Rifle CAL: Unknown, SN: None.
  27
  28

                                             3                         15cr2720/15cr2721
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   1         2.     The aforementioned forfeited assets are to be held by the Bureau of
   2 Alcohol, Tobacco, Firearms, and Explosives ("ATF") in its secure custody
   3 and control.
   4          3.    Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized
   5 to begin proceedings consistent with any statutory requirements pertaining to
   6 ancillary hearings and rights of third parties.
   7         4.     Pursuant to the Attorney General's authority under Section 853(n)(1) of
   8 Title 21, United States Code, Rule 32.2(b)(6), Fed. R Crim. P., and Rule G(4) of the
   9   Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
  10 the United States forthwith shall publish for thirty (30) consecutive days on the
  11   Govermnent's forfeiture website, www.forfeiture.gov, notice of this Order, notice of
  12 the United States' intent to dispose of the properties in such manner as the Attorney
  13 General may direct, and notice that any person, other than the Defendant, having or
  14 claiming a legal interest in the above-listed forfeited properties must file a petition
  15 with the Court within thirty (30) days of the final publication of notice or of receipt of
  16 actual notice, whichever is earlier.
  17          5.    This notice shall state that the petition shall be for a hearing to
  18 adjudicate the validity of the petitioner's alleged interest in the properties, shall be
  19 signed by the petitioner under penalty of perjury, and shall set forth the nature and
  20 extent of the petitioner's right, title or interest in the forfeited properties and any
  21   additional facts supporting the petitioner's claim and the relief sought.
  22         6.     The United States may also, to the extent practicable, provide direct
 . 23 written notice to any person known to have alleged an interest in the properties that
  24 are the subject of the Preliminary Order of Criminal Forfeiture, as a substitute for
  25 published notice as to those persons so notified.
  26 II
  27 II
  28 II

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   1         7.    Upon adjudication of all third-party interests, this Court will enter an
   2 Amended Order of Forfeiture pursuant to 21 U.S.C. § 853(n) as to the
   3 aforementioned assets, in which all interests will be addressed.
   4         8.    Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be made final
   5 as to the Defendant at the time of sentencing and is part of the sentence and included
   6 in the judgment.
   7         DATEDA
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